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                            UNITED STATES DISTRICT COURT

                            MIDDLE DISTRICT OF LOUISIANA

____________________________________
                                    )
AARON NELSON, et al                 )
                                    )
                  Plaintiffs,       )
      v.                            )                Civil Action No. 3:20-cv-00837-JWD-RLB
                                    )
JEFFREY LANDRY et al,               )
                                    )
                  Defendants.       )
____________________________________)


                           EXPERT DISCOVERY TO
                DEFENDANTS REGARDING DR. BRANDON P. ROMANO

     COME NOW, Plaintiffs, by and through undersigned counsel, pursuant to Rules 33 and 34

of the Federal Rules of Civil Procedure and the corresponding Local Rules, who respectfully

submit the following discovery requests to Defendants:


                                           Instructions

       By “report,” or “your report”, these discovery requests refer to the report you authored

for the Defendants dated December 5, 2022 and consisting of 32 pages and several Appendices

totaling 21 pages. A copy of this report is attached as Exhibit A to these requests.


                                     INTERROGATORIES


INTERROGATORY NO. 1

       On page five of your report, you write that you were “part of the team that assisted in the
development of the evaluation and treatment process...” for the Louisiana State University
Health Sciences Center. Please explain in detail your specific role in the project and the results,
outcome, or ultimate recommendations of the project.




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INTERROGATORY NO. 2

        On page six of your report, you write that you have “held the sex offender and evaluation
and treatment contract with U.S. Probation and Pretrial Services [for the Middle District of
Louisiana] for approximately 15 years and ha[ve] seen numerous clients.” Please explain what
this contract entails and obligates you to do for Probation and Pretrial Services.

INTERROGATORY NO. 3

        On page six of your report, you write that you have “held the sex offender and evaluation
and treatment contract with U.S. Probation and Pretrial Services [for the Eastern District of
Louisiana] for approximately 5 years and ha[ve] seen numerous clients.” Please explain what
this contract entails and obligates you to do for Probation and Pretrial Services.

INTERROGATORY NO. 4

        On page six of your report, you write that you are a “locally identified provider for an out
of state law firm specializing in immigration, specifically related to the Secretary of Homeland
Security determination for sex offenders and ‘...whether it is beyond reasonable doubt that the
petitioner poses any risk to the safety and well-being of his spouse.’” Please describe what your
contract with the law firm entails and explain what it obligates you do to.

INTERROGATORY NO. 5

        On pages six and seven of your report, you write that you and your staff “have been the
sole evaluation and treatment providers for clients deemed NGRI or via civil commitment for
prior and current sex offenses residing in group homes and other supervised settings for the past
three and a half years.” Please identify these groups homes and facilities that provide “supervised
settings”; describe what your contract with them entails and explain what it obligates you do to.

INTERROGATORY NO. 6

        On page seven of your report, you write that you and your staff “have been providing
outpatient evaluation and treatment services for state offenders on probation and parole for the
past 20+ years” for “over a thousand individuals” for the Louisiana Department of Corrections
and Public Safety (DOC). Please describe what your contract with the DOC entails and explain
what it obligates you do to.

INTERROGATORY NO. 7

        On page seven of your report, you write that you have “performed hundreds of sex-
offense-specific evaluations and provided treatment services for individuals that have not come
to the attention of the judicial system...; rather, they are pursuing services related to sexual
misbehavior or addiction that has not necessarily risen to a criminal offense.” Please identify
these providers / entities that asked you to perform this task, describe what your contract with
them entails, and explain what it obligates you do to.


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INTERROGATORY NO. 8

        On page seven of your report, you write that you are “regularly appointed...to perform
psychosexual risk assessments...on adults and juveniles with sexual offenses.” Please identify the
authority that makes these appointments, what you are asked to do as part of the appointment.

INTERROGATORY NO. 9

        On page seven of your report, you write that you are “routinely contacted...to perform
psychosexual (risk assessments) [sic] evaluations for adolescents and adults.” Please identify
these providers / entities that contact you to perform these services, describe what your contract
with them entails, and explain what it obligates you do to.

INTERROGATORY NO. 10

       On pages seven and eight of your report, you write that you “conduct[] mental and health
evaluations with an emphasis on psychosexual functioning for individuals in the seminary and
monastery.” Please identify the entities that ask you to perform these services, describe what
your contract with them entails, and explain what it obligates you do to.

INTERROGATORY NO. 11

         On page seven of your report, you write that your office is “on the referral list with
several treatment facilities and other private / public providers.” Please identify these “treatment
facilities” and “other providers / public providers” and describe what your contract with them
entails and explain what it obligates you do to.

INTERROGATORY NO. 12

        On page eight of your report, you write “Dr. Romano was also involved in a project
several years ago to reassess approximately twelve (12) offenders attempting to have their
designation of Sexually Violent Predator (SVP) or Child Sexual Predator (SVP) classification
removed following determination by the Louisiana Sex Offender Assessment Panel (SOAP).”
Please identify the specific name of the project, dates of the project, and the institution that
sponsored the project. In addition, please explain in detail your specific role in the project and
the results, outcome, or ultimate recommendations of the project.




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INTERROGATORY NO. 13

        On page eight of your report, you write that you have been “asked to render professional
opinions regarding the risk for recidivism for individuals incarcerated at the Louisiana State
Penitentiary (Angola) engaging in sexually inappropriate mannerisms prior to the Board of
Pardons & Committee on Parole hearings for several non-profit organizations.” Please identify
the entities that asked you to perform these services, describe your contract with each entity, and
explain what your contract with them obligates you do to.


                    REQUESTS FOR PRODUCTION OF DOCUMENTS


DOCUMENT REQUEST NO. 1

        On page five of your report, you write that, with Dr. Pellegrin, you “designed and
implemented the first ever sex offender evaluation and treatment program for the agency
approximately 20 years ago.” Please produce the course materials for this program, including
the syllabus, power point(s), course outline(s), lecture notes, and reading materials.

DOCUMENT REQUEST NO. 2

        Please provide any contracts you are a party to with Dr. Pellegrin with respect to the
subject matter of Request No. 1.

DOCUMENT REQUEST NO. 3

       On page five of your report, you write that you have “conducted countless psychosexual
evaluations and provided treatment services for juveniles and their families...” for the
OJJ. Please produce all such evaluations for the last five years.

DOCUMENT REQUEST NO. 4

       Please provide any contracts you are a party to with the Office of Juvenile Justice
including the contract with respect to the subject matter of Request No. 3.

DOCUMENT REQUEST NO. 5

        On page five of your report, you write that you were “part of the team that assisted in the
development of the evaluation and treatment process...” for the Louisiana State University
Health Sciences Center. Please produce all documents associated with the evaluation and
treatment process that you developed, including course materials such as the syllabus, power
point(s), course outline(s), lecture notes, and reading materials.




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DOCUMENT REQUEST NO. 6

       On page six of your report, you write that you are “an approved provider for
psychological and sex offense evaluations for professionals in safety-sensitive positions for
Boards such as, but not limited to, the Louisiana State Board of Nursing and the Louisiana
Physical Therapy Board.” Please produce all such evaluations for the last five years.

DOCUMENT REQUEST NO. 7

       Please provide any contracts you are a party to with the Louisiana State Board of Nursing
and the Louisiana Physical Therapy Board including the contract with respect to the subject
matter of Request No. 6.

DOCUMENT REQUEST NO. 8

        On page six of your report, you write that you are a “locally identified provider for an out
of state law firm specializing in immigration, specifically related to the Secretary of Homeland
Security determination for sex offenders and ‘...whether it is beyond reasonable doubt that the
petitioner poses any risk to the safety and well-being of his spouse.’” Please produce any
evaluations you have done in this role for the last five years.

DOCUMENT REQUEST NO. 9

         Please provide any contracts you are a party to with the law firm mentioned in Request
No. 8.

DOCUMENT REQUEST NO. 10

         On pages six and seven of your report, you write that you and your staff “have been the
sole evaluation and treatment providers for clients deemed NGRI or via civil commitment [sic]
for prior and current sex offenses residing in group homes and other supervised settings for the
past three and a half years.” Please produce any evaluations you have done in this role for the
last five years. Also, please produce all materials related to the “treatment” you and your staff
provided pursuant to this contract including syllabus, reading materials, treatment or course
outlines, Power Point presentations, lecture notes, etc.

DOCUMENT REQUEST NO. 11

       Please identify the provider for whom you perform the services referenced in Request
No. 10 and provide any contracts you are a party to with each.




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DOCUMENT REQUEST NO. 12

        On page seven of your report, you write that you and your staff “have been providing
outpatient evaluation and treatment services for state offenders on probation and parole for the
past 20+ years” for “over a thousand individuals” for the Louisiana Department of Corrections
and Public Safety. Please produce any evaluations you have done in this role for the last five
years as well as the syllabus, reading materials, treatment or course outlines, Power Point
presentations, lecture notes, etc, for all treatment services you provided.

DOCUMENT REQUEST NO. 13

        Please provide any contracts you are a party to the DOC with respecting the subject
matter referenced in Request No. 12.

DOCUMENT REQUEST NO. 14

        On page seven of your report, you write that you have “performed hundreds of sex-
offense-specific evaluations and provided treatment services for individuals that have not come
to the attention of the judicial system...; rather, they are pursuing services related to sexual
misbehavior or addiction that has not necessarily risen to a criminal offense.” Please produce
any evaluations you have done in this role for the last five years as well as the syllabus, reading
materials, lecture notes, treatment or course outlines, Power Point presentations, etc, for all
treatment services you provided.

DOCUMENT REQUEST NO. 15

       Please identify the provider(s) for whom you perform the services referenced in Request
No. 14 and provide any contracts you are a party to with each.

DOCUMENT REQUEST NO. 16

        On page seven of your report, you write that you are “regularly appointed...to perform
psychosexual risk assessments...on adults and juveniles with sexual offenses.” Please produce
the risk assessment instrument you use for these assessments and any instructions on how to use
them. Also, produce any such assessments you have performed over the last five years.

DOCUMENT REQUEST NO. 17

       Please identify the appointing authority for the services you perform that are referenced
in Request No. 16 and provide any contracts you are a party to with each.




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DOCUMENT REQUEST NO. 18

        On page seven of your report, you write that you are “routinely contacted...to perform
psychosexual (risk assessments) [sic] evaluations for adolescents and adults.” Please produce the
risk assessment instrument you use for these assessments and any instructions on how to use
them. Also, produce any such assessments you have performed over the last five years.

DOCUMENT REQUEST NO. 19

       Please identify the entity, provider or vendor for the services you perform that are
referenced in Request No. 18 and provide any contracts you are a party to with each.

DOCUMENT REQUEST NO. 20

        On pages seven and eight of your report, you write that you “conduct[] mental and health
evaluations with an emphasis on psychosexual functioning for individuals in the seminary and
monastery.” Please produce any risk assessment instrument you use for these assessments and
any instructions on how to use them. Also, produce any such assessments you have
performed over the last five years.

DOCUMENT REQUEST NO. 21

       Please identify the entity, provider or vendor for the services you perform that are
referenced in Request No. 20 and provide any contracts you are a party to with each.

DOCUMENT REQUEST NO. 22

         On page eight of your report, you write that you have been “asked to render professional
opinions regarding the risk for recidivism for individuals incarcerated at the Louisiana State
Penitentiary (Angola) engaging in sexually inappropriate mannerisms prior to the Board of
Pardons & Committee on Parole hearings for several non-profit organizations.” Please produce
all written materials generated pursuant to these professional opinions for the last five years.

DOCUMENT REQUEST NO. 23

       Please identify the entity, provider or vendor who asked you to render these professional
opinions that are referenced in Request No. 22 and provide any contracts you are a party to with
each.

DOCUMENT REQUEST NO. 24

        On page eight of your report, you write that you were “involved in a project several years
ago to reassess approximately twelve (12) offenders attempting to have their designation of
Sexually Violent Predator (SVP) or Child Sexual Predator (SVP) classification removed
following determination by the Louisiana Sex Offender Assessment Panel (SOAP).” Please
produce the written results of these assessments for the last five years.


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DOCUMENT REQUEST NO. 25

       Please identify the entity, provider or vendor who asked you to render these professional
opinions that are referenced in Request No. 24 and provide any contracts you are a party to with
each.

DOCUMENT REQUEST NO. 26

       With regard to the “Legal Testimony” section of your curriculum vitae, that is attached to
your report at Appendix C, pages 13-14 (and attached to these requests as Exhibit A), please
produce all reports you authored as well as transcripts of your testimony (whether at trial or in
deposition) in the following cases:

   •   18th JDC, Expert Testimony, L.S. CASE (Fitness to Parent), New Roads, Louisiana
       (2013)

   •   Heggelund Law, Deposition, Expert Testimony, A.F. and B.F. Cases (Sexual Abuse),
       Baton Rouge, Louisiana (2015)

   •   Breazeale, Sachse, & Wilson, Deposition, Expert Testimony, D.O. Case (Dangerousness),
       Baton Rouge, Louisiana (2016).

   •   Louisiana State Board of Nursing, Expert Testimony, L.B. Case (Ability to Practice
       Nursing with Reasonable Skill and Safety), Baton Rouge, Louisiana (2017)

   •   J. Rodney Messina, Expert Testimony, A.E. Case (Risk for Sexual Recidivism), United
       States District Court, Middle District of Louisiana (2018)

   •   East Baton Rouge Parish Juvenile Court, Division A, Expert Testimony, Q.R. Case
       (Violence Risk Assessment), Baton Rouge, Louisiana (2018)

   •   Denham Springs City Court, Expert Testimony, A.L. Case (Risk for Sexual Recidivism
       and Reunification), Department of Children and Family Services, Denham Springs,
       Louisiana (2021)

   •   Parole Hearing, Expert Testimony, J.B. Case (Murder and Risk for Sexual Recidivism),
       Board of Pardons & Committee on Parole, Baton Rouge, Louisiana (2022)




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Date: January 7, 2023.

                                         Respectfully submitted,

                                         _/s/ John Adcock__________
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